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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 VS                                                §    Case Number: 2:05-CR-3 (25) TJW-CE
                                                   §
 OLANDARIS DEMONTRAY FEGGETT                       §

                                    MEMORANDUM ORDER

        The above-entitled and numbered criminal action was heretofore referred to a United States

 Magistrate Judge pursuant to 28 U.S.C. § 636. The report of the Magistrate Judge, which contains

 his proposed findings of fact and recommendations for the disposition of such action, has been

 presented for consideration. Both parties waived their right to file objections to the Report and

 Recommendation. The court is of the opinion that the findings and conclusions of the Magistrate

 Judge are correct. Therefore, the court hereby adopts the report of the United States Magistrate

 Judge as the findings and conclusions of this court. Accordingly, it is hereby

        ORDERED that the defendant’s plea of true to the allegations as set forth in the

 government’s petition be ACCEPTED. Based upon the defendant’s plea of true to the allegations,

 the court finds that the defendant violated the conditions of his supervised release. It is further

        ORDERED that the defendant be sentenced to 6 months imprisonment with no term of

 supervised release to follow such term of imprisonment. It is further

         REQUESTED that the Bureau of Prisons place the defendant in its FCI Texarkana, Texas

 facility during the period of his confinement.
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         SIGNED this 13th day of September, 2010.



                                           __________________________________________
                                           T. JOHN WARD
                                           UNITED STATES DISTRICT JUDGE




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